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4
     Attorney for
5    JOSEPH D. RYAN
6
7                                  IN THE UNITED STATES DISTRICT COURT
8                             FOR THE EASTERN DISTRICT OF CALIFORNIA
9
     UNITED STATES OF AMERICA,                     )    Case No. 2:15-cr-00116-GEB
10                                                 )
                      Plaintiff,                   )    STIPULATED MOTION TO DISMISS
11                                                 )    VIOLATION PETITION
             v.                                    )
12                                                 )    Date: June 14, 2019
     JOSEPH D. RYAN,                               )    Time: 9:00 a.m.
13                                                 )    Judge: Hon. Garland E. Burrell
                      Defendant.                   )
14                                                 )
15
16           IT IS HEREBY STIPULATED by and between United States Probation Officer Lisa
17   Hage, and McGregor Scott, United States Attorney, through Robert Artuz, Assistant United
18   States Attorney, attorney for Plaintiff, and Heather Williams, Federal Defender, through
19   Assistant Federal Defender, Hannah R. Labaree, attorney for Joseph Ryan, that the violation
20   petition alleging a violation of Mr. Ryan’s term of supervised release, be dismissed with
21   prejudice. That petition was filed by United States Probation Officer Lisa Hage on February 27,
22   2019, and signed by this Court on February 28, 2019. CR 134.
23           Since the filing of that petition, Mr. Ryan has successfully completed the 90-day in-
24   patient drug treatment program at Wellspace Health in Sacramento. He is now taking advantage
25   of aftercare services through the Volunteers of America program on Mather Community
26   Campus.
27
28
     [[Ryan Stipulated Request for Dismissal           -1-
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1            The parties agree that the interests of justice are served by dismissal of the violation
2    petition.
3            In light of this stipulated motion, the parties further request that the hearing set for June
4    14, 2019 at 9:00 A.M., be vacated.
5
     DATED: June 13, 2019
6                                                   Respectfully submitted,
7
                                                    HEATHER E. WILLIAMS
8                                                   Federal Defender

9
                                                    /s/ Hannah R. Labaree__
10
                                                    HANNAH R. LABAREE
11                                                  Assistant Federal Defender
                                                    Attorney for JOSEPH D. RYAN
12
     Date: June 13, 2019                            s/ George Vidales
13                                                  GEORGE VIDALES
                                                    United States Probation Officer
14
15   Date: June 13, 2019                            MCGREGOR W. SCOTT
                                                    United States Attorney
16
                                                    /s/ Robert Artuz
17                                                  ROBERT ARTUZ
18                                                  Assistant United States Attorney

19                                                ORDER
20           IT IS SO ORDERED. Based on the stipulation of the parties and good cause appearing
21   therefrom, the Court hereby dismisses with prejudice the February 27, 2019 violation petition at
22   CR 134. It is further ordered that the June 14, 2019 hearing be vacated.
23           Dated: June 13, 2019
24
25
26
27
28
     [[Ryan Stipulated Request for Dismissal           -2-
